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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
WILBERT K.A. TURNER,
                                                               :
                                    Plaintiff,                     ORDER PURSUANT TO
                                                               :   RULE 16(b)(1)(A)
                  -v.-
                                                               :   18 Civ. 1973 (LTS) (GWG)

AGENT JEREMY DELLAPIA, et al.,                                :

                                                              :
                          Defendants.
                                                               :
---------------------------------------------------------------x

GABRIEL W. GORENSTEIN
UNITED STATES MAGISTRATE JUDGE

       This matter has been referred to the undersigned for general pretrial purposes. The
attorney for defendants is directed to contact plaintiff by telephone within 7 business days for
purposes of creating a discovery plan. See Fed. R. Civ. P. 26(f). The plan should contain the
following elements:

1.      A deadline by which all documents requests and initial interrogatories must be served.

2.      The deadline for the disclosures of the identities and reports of experts, if any, as required
        by Rule 26(a)(2)(A) and (B).

3.      The deadline for the disclosure of identities and reports of any expert intended by an
        opposing party solely to rebut previously-disclosed expert evidence.

4.      A date by which all discovery must be completed.

The parties are free to include additional elements in the plan if they wish. Also, the parties are
encouraged to discuss settlement during the telephone conference. If both parties wish the Court
to conduct a settlement conference or if a telephone conference is needed for any purpose, they
may so request in the discovery plan.

        The parties shall include in the plan a statement as to whether any party has information
as to an address for service of process on defendant Eman Grant as it appears that Eman Grant
could not be served at the address provided by plaintiff (Docket # 16).
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        Counsel for defendants is responsible for filing the plan with the Court on or before
November 30, 2020. If the parties disagree over the terms of the plan, the disagreement may be
noted in the plan itself. In the alternative, plaintiff may respond by sending a letter to the Court
within 7 days of the filing of the plan. Following receipt of any proposed plan, the Court will
issue a scheduling order.

        Finally, the Court notes that each party must immediately inform the Court of any change
in that party’s address or telephone number in the future. If a party fails to do so, the case may
be dismissed or a default entered.

        Please be aware that the Pro Se Office at the United States Courthouse, 500 Pearl Street,
Room 230, New York, New York ((212) 805-0175) may be of assistance in connection with
court procedures.

       The Clerk is requested to mail a copy of this Order to plaintiff.


Dated: New York, New York
       November 5, 2020

                                                      SO ORDERED:



                                                      ______________________________
                                                      GABRIEL W. GORENSTEIN
                                                      United States Magistrate Judge




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